Case 24-30108 Doci1 Filed 02/01/24 Entered 02/01/24 15:21:09 Desc Main
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IMUM Melee helio (tilt mize] tT tre: tion

United States Bankruptcy Court for the:

Western pistrict or North Caroling

Case number (if known): Chapter you are filing under: 24 FEB -] 07
Chapter 7 A aes if this is an

OU Chapter 1 es
o chee . amended filing

Gt Cheater +2 STEVEN TSA ye CLERK

Zé

$$ —= —— 4

pny

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12/22

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

au Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name \ ,
JORANNY
Write the name thatison your fistname Elst name

government-issued picture
identification (for example,

your driver's license or MN? name Middle name
ARCANO

passport).
: : Last name Last name
Bring your picture
identification to your meeting
with the trustee. Suffix (Sr., Jr., Il, Il) Suffix (Sr., Jr., Wl, II)
2. All other names you :
have used in the last 8 First name First name
years
Middle name Middle name
Include your married or
maiden names and any
Li
assumed, trade names and Last name BEE TING
doing business as names.
First name First narne

Do NOT list the name of any
separate legal entity such as

a corporation, partnership, or = Middle name Migdle name

LLC that is not filing this

petition. Last name Last name
Business name (if applicable) Business name (if applicable)
Business name (if applicable) Business name (if applicable)

3. Only the last 4 digits of 9

your Social Security wx - x - SF ) ( AER OE =

number or federal OR OR

Individual Taxpayer 9 9

Identification number XX = XX = XX — XX —

(TIN) __

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

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Jokwvy

Debter 1

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Document

MARCA VO

First Name Middle Name

Last Name

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Case number it knowny

4. Your Employer
Identification Number
(EIN), if any.

About Debtor 1:

A3 SVAS EL
EIN

EN ct cee

About Debtor 2 (Spouse Only in a Joint Case):

EIN”

EN

5. Where you live

SB30 Reddmon Road

lf Debtor 2 lives at a different address:

Nuraber Street Number Street
Apt SA
Chacle te. NC 2Qgaid
Gy State ZIP Code City State ZIP Cade
Mecklenlurg
County — County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

asas Lassen Bay PI

If Debtor 2's mailing address is differant from
yours, fill it in here. Note that the court wil send
any notices to this mailing addrass.

this district to file for
bankruptcy

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

C) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street t Number Street
P.O, Box P.O. Box
Chac|stte NC agns
City State ZiP Cade City State ZIP Code
6. Why you are choosing Check one: Check one:

iL) Over the jast 180 days before filing this petition,
} have lived in this district longer than in any
other district.

C} t have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 104

Voluntary Petition for individuats Filing for Bankruptcy

page 2

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Debtor 1 Jou WX

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4 ARCAN 0 Case number ti known),

Fist Name Middte Name

Last Name

a Tell the Court About Your Bankruptcy Case

7.

The chapter of the Check one. (For a brief description of each, see Notice Required by 77 U.S.C. § 342(b} for Individuals Filing
Bankruptey Code you for Bankruptcy (Form 2010)). Also, go to the tep of page 1 and check the appropriate box.
are choosing to file
under @ Chapter 7
QC) Chapter 11
OC) Chapter 12
CQ) Chapter 13
a. How you will pay the fee J I will pay the entire fee when ! file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
L) | need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals fo Pay The Filing Fee in installments (Official Form 103A).
A | request that my fee be waived (You may request this cption only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do se only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). ff you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.
9. Have you filed for No
bankruptcy within the
last 8 years? Cl Yes. District When Case number
MMs DDS YYYY
District When Case number
MM/ DDIYYYY
District When Case number
MMi DD IYYYY
40, Are any bankruptcy No
cases pending or being
filed by a spouse who is Gl Yes. Debtor Relationship te you
not filing this Gase with District \When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship te you
District When Case number, if known,
MMi DD f YYYY
11. Do you rent your GINo. Go to line 12.

residence?

Official Form 101

@ ves. Has your landlord obtained an eviction judgment against you?

2 No. Go to line 12.

Yes. Fill out /nitial Statement About an Eviction Judgment Against You (Form 104A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 4 Jounwy

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MAR CAN 6 Case number {7 known},

Fest Name "Middle Name

Last Name

Ee Report About Any Businesses You Own as a Scle Proprietor

12.

Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individuai, and is not @
separate legal entity such as
a corperation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
te this petition.

Gd) No. Go to Part 4,

C) Yes. Name and jocation of business

Name of business, if any

Number Street

City State ZIP Code

Check the appropriate box to describe your business:

() Health Care Business (as defined in 11 U.S.C. § 101{27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B})
L] Stockbroker {as defined in 11 U.S.C. § 101(53A))

C] Commodity Broker (as defined in 11 U.S.C. § 107(6)}

C) None of the above

13,

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a smail business
debtor or a debtor as
defined by 11 U.S.C. §
4182(1)?

For a definition of small
business debtor, see

11 U.S.C. § 101(51D).

Official Form 1401

if you are filing under Chapter 11, the court must know whether you are a smai! business debtor or a debtor
choosing to proceed under Subchapter V so that it can sef appropriate deadiines, \f you indicate that you
are a small business debtor or you are choosing fo proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1})(8).

No. | am not filing under Chapter 11.

CQ No. | am filing under Chapter 11, but | am NOT a smail business debtor according to the definition in
the Bankruptcy Code.

OQ) Yes. } am filing under Chapter 71, | am a small business debtor according to the definition in the Bankruptcy
Code, and | do not choose to proceed under Subchapter V of Chapter 11.

QC} Yes. 1am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapier 11.

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Debtor 4 Jo ANWY M MCAN O Case number tit snown)

First Name Middle Name Last Name

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14, Do you own or have any No
property that poses or is

alleged to pose a threat {el Yes. Whatis the hazard?
of imminent and
identifiable hazard to

pubiic health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
thaf needs urgent repairs?
Where is the property?

Number Street

City State ZIP Cade

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 5
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Debtor 4

JONNY

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MARCANO

First Name

Middle Name

Last Name

Eo Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (i known)

45, Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive 2 briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Farm 104

About Debtor 1:

You musf check one:

Kl I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, #f any, that you developed with the agency.

Cl] I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the cenificate and payment
plan, if any.

C | certify that 1 asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
reguirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
reguired you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court Is satisfied with your reasons, you must
still receive a briefing within 30 days after you fle.
You must file a certificate from the approved
agency, along with a capy of the payment plan you
developed, if any. If you do not do se, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited fo a maximum of 15
days.

( i am not required te receive a briefing about
credit counseling because cf:

Q Incapacity. 1 have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

(J Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after }

reasonably tried to do so.

C) Active duty, jam currently on active military

duty in a military combat zone.

Hf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Fiting for Bank

About Debtor 2 (Spouse Only in a Joint Case}:

You must check one:

Cl] i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Cl i received a briefing from an approved credit
counseling agency within the 180 days before! ;
filed this bankruptcy petition, but | do not have a ;
certificate of completion. :

Within 14 days after you file this bankruptcy petition,

you MUST file a copy of ihe certificate and payment :

plan, if any.

C] | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after 1 made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

Teo ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made fo obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumsfances
required you te file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not Teceiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
sfill receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
develoned, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

CJ} tam not required to receive a briefing about
credit counseling because of:

C] Incapacity. | have a mental iHness or a mental
deficiency that makes me
incapable of realizing or making
rationai decisions about finances.

Cj Bisability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do sa.

CO) Active duty. | am currently on active mititary

duty in a military combat zone.

if you beileve you are not required to receive a
briefing abcut credit counseling, you must file a
motion for waiver of credit counseling with the cour.

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Debtor 1 Jokwny MaAgckno Case number (if snawe)

First Name Middle Name Last Name

Eo Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debfs are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or househaoid purpose.”

2 No. Go to line 16b.
Yes. Go te line 77.

46. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the businass or invasiment.

3 No. Go to line 18c.
CQ Yes. Go to fine 17.

16c. State the type of debts you owe that are not consumer debts or business debis.

17, Are you filing under
Chapter 7?

Do you estimate that after Yes. | am fling under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

(2 No. | am not filing under Chapter 7. Gotcline 18. .

excluded and f) No
administrative expenses

are paid that funds will be U Yes
available for distribution

to unsecured creditors?

48, How many creditors do 1-49 C) 1,c00-5,000 C] 25,901-50,0c0
you estimate that you CQ) 50-99 OQ 5,c04-40,000 ©] 50,001-100,c00
owe? LI 100-199 C1) 16,001-25,000 iL) More than 160,000

LI 200-999

49. How much do you
estimate your assets to
be worth?

$0-$50,000
C) $50,001-$190,000
() $100,001-500,000

OC) $1,000,001-$10 milion
Cl $10,000,001-$50 million
Cj $50,000,001-$100 million

©] $600,000,004-$1 billion
CI $1,000,000,001-310 billion
CJ $10,060,000,001-$50 billion

C) $500,001-$1 million C) $190,000,001-$500 million LJ] More than $50 billion

(2) $500,600,007-$1 billion
Td $1,000,000,001-$10 billion

CJ $1,000,001-$10 milion
C) $19,000,001-$50 million

$0-$50,000
CL] $50,001-$100,000

_ 20. How much do you
estimate your liabilities

to be? C) $700,001-$500,000 (4) $50,000,001-$106 mitlion 2 $10,060,000,001-$50 biltion
. C) $500,001-34 million CJ $100,000,004-$560 million C] More than $50 billion
Sign Below
: | have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

lf | have chosen to file under Chapter 7, | am aware that ! may proceed, if eligible, under Chapter 7, 11,42, or 13
of title 11, United States Code, i understand the relief available under each chapter, and | choose fo proceed
under Chapter 7.

lf no attorney represents me and ! did not pay or agree to pay scmeone whe js not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342{b}.

| reques? relief in acccrdance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can resuit in fines up to $250,000, or imprisonment for up to 2G years, or both.
78 U.S.C. §§ 152, 1341, 1519, and 3571.

x Marcon) phon *

Signature of Debtor 1 gf é
Executed on O { laslaoay

MM / DD SYYYY

Signature of Debtor 2

Executed on
MMs DD /Y¥YYY

Official Form 101 Voluntary Petition for Individuais Filing for Bankruptcy page 7
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Debtor 1 JON NY MAC ANO Case number tit kaowny,

First Name Middie Name Last Name

|, the attorney for the debtor(s) named in this petition, declare that { have informed the debtor(s) about efigibility
to praceed under Chapter 7, 17, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
: the notice required by 11 U.8.C. § 342(b) and, in a case in which § 707(6)(4)(D) appiies, certify that ] have no

. If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incarrect.

: by an attorney, you do not

For your attorney, if you are
- represented by one

need to file this page. x
Date
Signature of Attorney for Debtor MM of DD FY¥YYY
Printed name
Firm name
Number Street
City State ZIP Cade
Contact phone Email address
Bar number State

Officiai Form 101 Voiuntary Petition for individuals Filing for Bankruptcy page 8

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Debtor 7 JowW w\ MARCAN 0 Case RUMbET (if known,

First Name Middie Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourse¥f in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly file and handie your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did net file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could iose your right to fite another
case, or you may lose protections, including the benefit of the automatic stay.

You must list alf your property and debts in the schedules that you are required to file with the
court. Even if you plan fo pay a particular debt outside of your bankruptcy, you musi list that debt
in your schedules. If you de not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you doa something dishonest in your bankruptcy
ease, such as destroying or hiding property, falsifying records, or fying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file wkhout an attorney, the court expects you to follow the rules as if you had
hired an attarney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of fhe court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy [s a serious action with long-term financial and legal
consequences?

QU No
RX Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incompiete, you could be ined or imprisoned?

OD No

Yes

Did you pay or agree to pay someone who is not an attorney to heip you fill out your bankruptcy forms?
No
LJ Yes. Name of Person

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware fhat filing a bankruptcy case without an
attorney may cause me fo lose my rights er property if | do not properly handle the case.

x Menecoce- Joven x

Signature of Debtor? 7 kr Signature of Debtor 2
Date ol L ay / POLY Date
MM/DD IYYYY MM/ DD IYYYY
Contact phone Contact phone
Call phone ‘] oO ~6 if— Oo ¥ ad ¥ Cell phone

Email address Johny Mattang 328 Spas |:Co% email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9
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Debtor 1 JO WWNY MALCAN 6
First Name Middle Name Last Name
Debior 2
(Spouse, if filing) First Name Middle Name Lasi Name
United States Bankruptey Court for the: Westen District ot Norn Coola
Case number Check if this is:
(if known)
LJ An amended filing
J A supplement showing postpetition chapter 13
income as of the following date:
Official Form 106} Wiki? DD) YYW
Schedule I: Your income 1215

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number {if known}. Answer every question.

Describe Employment

1. Fillin your employment
information. Debtor 1 Debtor 2 or non-filing spouse
If you have more fhan one job,
attach a separate page with
information about additional Employment status al Empioyed C] Employed
employers. M4 Not employed i] Not employed
Include part-time, seasonal, or
self-employed wark.
5. ti
Occupation may include student coupalion
or homemaker, if it applies.
Employer's name
Employer's address
Number Street Number Street
City State IP Code City State ZIP Code

How long employed there?

Give Details About Monthiy Income

Estimate monthly income as of the date you file this form. I you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the Information for all employers for that person on the lines

below. If you need more space, aitach a separate sheet to this form.

For Debtor 4 For Debtor 2 or
non-filing spouse

. 2. List monthly gross wages, salary, and commissions (before ail payroll

deductions). lf not paid monthly, calculate what the monthly wage would be. 2, $ O $
: 3, Estimate and list monthly overtime pay. 3. +5 O + $
. 4, Calculate gross income. Add line 2 + line 3. 4,1 § O $

Official Form 106 Schedute t: Your income page 1
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Debtor 4 Je KAY Hagcaw e Case number (# known)
Firat Name Micdia Name Last Name
For Debtor 1 For Debtor 2 or
iling spou:
Copy Hine 4 R660... ecccecccsseccssessesnneesseseeseeeesnmeecennenenreetenseireaesceees BP AL § g $
5. List all payroli deductions:
Sa. Tax, Medicare, and Social Security deductions Ba. 8§¢ OF $
5b. Mandatory contributions for retirement plans Sb. $$ O $.
5c. Voluntary contributions for retirement plans 5a §. O $
5d. Required repayments of retirement fund loans 5d. oO $
5e. Insurance 5a. § OO 5
5f. Domestic support obligations Sf. $ oO $
5g. Union dues 5g. $ o 3
5h. Other deductions. Specify: Sh. +g  O +¢
6. Add the payroll deductions. Add lines 5a + 5b + S¢+ 6d +5e+5f+5g+5h. 6. $ CO $
7. Calculate total monthiy take-home pay. Subtract line 6 from line 4. 7. $ O $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ O $
monthly net income. 8a.
8b. Interest and dividends 8b. § o $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ O 5
settlement, and property settlement. 8c.
8d, Unemployment compensation ad. §. O $
8e. Social Security fe. © $
8f. Other government assistance that you regularly receive
Include cash assistance and the vajue (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies. a G
Specify: B.S. $
8g. Pension or retirement income 8g. § O $
8h. Other monthly income. Specify: Bh. +4 O +$
9. Add ail other income. Add lines 8a + 8b + 8c + 8d + Be + BF +8g + Bh, 9, $ a 4 { $
40. Calculate monthiy income. Add line 7 + line 9. 2a | + =|
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 40. § $ ™
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included In lines 2-10 or amounts that are not available to pay expenses listed in Schedufe J.
Specify: WF § ©
42. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 q
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. s At
Combined

monthly income
43.Do you expect an Increase or decrease within the year after you file this form?

Cl No.

Ed Yes. Explain: Trtrease Onte Re Claim AM Titles 1 Rights | cberest-s and Eaut

Official Form 4061 Schedule I: Your income page 2
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PRUE IEG i mone aii pum ete ates hte e

pebtort = JOHN 4 MARCANO

First Name Middle Name Last Name Check if this is:

Debtor 2 ©) An amended filing

(Spouse, if filing) First Name Middle Nama Last Name O
0 * A supplement showing postpetition chapter 13

, Wester : are [rae .
United States Bankruptcy Court for the: 4*€. W_ District of Wor dh expenses as of the following date:

Case number MM / DD/ YYYY
{If known)

Official Form 106J
Schedule J: Your Expenses 12415

Be as complete and accurate as possible. If two married people are filing together, both are equally responsibie for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

Ce Describe Your Household

1. 1s this a joint case?

E] No. Go ta line 2.
C Yes. Does Debtor 2 live In a separate household?

LJ No
CL) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? CQ) Ne

Dependent's relationship to Pependent's Does dependent live
Do not list Debtor 1 and @ Yes. Fill out this information for Debtor 4 or Debtor 2 age with you?
Debtor 2. each dependent... sccesevenne ,
Do not state the dependents’ St ow | I QO No
names. Yes
DAUGHTER, I B No
O Yes
DABSATER 4 B No
C) Yes
[} No
C} Yes
CI No
CI ves
3. Do your expenses include Bd No

expenses of peopie other than oO
yourself and your dependents? Yes

eo Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses
4. The rental or home ownership expenses for your residence. Include first mortgage payments and | O q Y

any rent for the ground or lot. $ -

Hf not included in line 4:

4a. Real estate taxes 4a § O

1s

4b, Property, homeowner's, or renter's insurance 4b. $

4c. Home maintenance, repair, and upkeep expenses 4c. $ l O

4a, Homeowner's association or condominium dues 4d. $ O

Official Form 706J Schedule J: Your Expenses page 1
16.

17.

18.

19.

20.

Official Form 106J

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Debtor 4 Jo Kal Al \ HARcCAWO

Firat Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

. Food and housekeeping supplies

. Childcare and children’s education costs
. Clothing, laundry, and dry cleaning

. Personal care products and services

. Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do nat include car payments.
Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
De not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
46c. Vehicle insurance

15d, Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

instaliment or lease payments:
t7a. Car payments for Vehicle 4
47b, Car payments for Vehicle 2
‘47c, Other, Specify:
17d. Other, Specify:

Case number (known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule J, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Scheduie f: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, hameowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

15a.
15b.
15c.
15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20a.
20b.
20c.
20d,

20e.

Your expenses

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page 2
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Debtori =. JOH WY MALAY oO

First Name { Middia Name Last Name

21. Other. Specify:

22, Caiculate your monthly expenses.
22a, Add lines 4 through 24.
22b. Copy line 22 (monthly expenses for Debtor 2}, if any, frorn Official Form 106J-2

22c, Add line 22a and 22). The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule 1.

23b, Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

Case number (if dawn),

21.

22a,

22b.

22c,

23a.

5 aA

23b. .g %, 308,45"

23c,

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car joan within the year or do you expect your
meérigage payment to increase or decrease because of a modification to the terms of your mortgage?

7B CIAMST

CI No.
@ Yes. | explain here: — G2 ct +o COEGATAI Con Tol OF RLO TE TOES, — sits
| CWTELEST, and E QvETY due to dhe PRN CEPAL. PIG

Official Form 106J Schedule J: Your Expenses

page 3

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Sotwiy

f A A 2 CA j

Debtor 1 O
First Name Middle Neme Lasl Name

Debtor 2

(Spouse, if filing} First Name Middle Name Last Name

United States Bankruptey Court for the: Western District of _Nocth Corl

Case number
(if known}

CI Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/48

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules, Making a faise statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up te 20

years, or both. 18 U.S.C. §§ 152, 1344, 1519, and 3571.

e Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

if No

CI Yes. Name of person, . Attach Bankruptcy Petition Preparer's Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x Moreen 7 fen, x
7 7

Signature of Debtor 4 Signature of Debtor 2
Datet’sI / agf 204 Date
MMi DD f YYYY MMi DD i YYY¥

pO AIRTEL Naat hore eines

Official Form 106Dec Declaration About an Individual Debtor's Schedules
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MMM Uiceliritelt Colom com (liane ater: bot

Debtor 1 JOWN NY MARCA Oo

First Name ¥ Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

Hf
United States Bankruptcy Court for the: Western District of Worth Care| Ihe,
(State)

Case number
(if known)

Official Form 101A
Initial Statement About an Eviction Judgment Against You

12/15

File this form with the court and serve a copy on your landlord when you first file bankruptcy only if:

you rent your residence; and
@ your landlord has obtained a judgment for possession in an eviction, unlawful detainer action, or
similar proceeding (called eviction judgment) against you to possess your residence.

Landlord’s name AM @ EC LAKE APART AENTS
Landlord's address Se aG Redd man RA

Number Street

Cte cot Te. NC Aéggale

City State ZIP Code

If you want to stay in your rented residence after you file your case for bankruptcy, also complete the certification below.

rly Certification About Applicable Law and Deposit of Rent

| certify under penalty of perjury that:

@® Under the state or other nonbankruptcy law that applies to the judgment for possession (eviction judgment),
| have the right to stay in my residence by paying my landlord the entire delinquent amount.

(J | have given the bankruptcy court clerk a deposit for the rent that would be due during the 30 days after | file
the Voluntary Petition for Individuals Filing for Bankruptcy (Official Form 101).

x Mare; fh x
G fF

Signature of Debtor 1

nex LOI 902 { Date

MM/ DD IYYYY MM/ DD IYYYY¥

Signature of Debtor 2

Stay of Eviction: (a) First 30 days after bankruptcy. If you checked both boxes above, signed the form to certify that both apply,
and served your landlord with a copy of this statement, the automatic stay under 11 U.S.C. § 362(a)(3) will
apply to the continuation of the eviction against you for 30 days after you file your Voluntary Petition for
Individuals Filing for Bankruptcy (Official Form 101).

(b) Stay after the initial 30 days. If you wish to stay in your residence after that 30-day period and continue to
receive the protection of the automatic stay under 11 U.S.C. § 362(a)(3), you must pay the entire delinquent
amount to your landlord as stated in the eviction judgment before the 30-day period ends. You must also fill
out Statement About Payment of an Eviction Judgment Against You (Official Form 101B), file it with the
bankruptcy court, and serve your landlord a copy of it before the 30-day period ends.

Check the Bankruptcy Rules ( http://Avww.uscourts.gov/rules-policies/current-rules-practice-procedure) and the local court’s website (to find
your court's website, go to http://www.uscourts.gov/court-locator) for any specific requirements that you might have to meet to serve this
statement. 11 U.S.C. §§ 362(b)(22) and 362(I)

Official Form 101A Initial Statement About an Eviction Judgment Against You
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

Desc Main

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 1018) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

Chapter 7: Liquidation

The types of bankruptcy that are
available to individuals

Individuals who meet the qualifications may file
under one of four different chapters of the
Bankruptcy Code:

ge Chapter7 —- Liquidation
@ Chapter 11— Reorganization

# Chapter 12-—— Voluntary repayment plan
for family farmers or
fishermen

a Chapter i3— Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

$245 filing fee

$78 administrative fee

+ $15 __ trustee surcharge
$338 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their
debts and who are willing to allow their non-
exempt property to be used to pay their
creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after
bankruptcy from having to pay many of your
pre-bankruptcy debts. Exceptions exist for
particular debts, and Hens on property may still
be enforced after discharge. For example, a
creditor may have the right to foreclose a home
mortgage or repossess an automobile.

However, if the court finds that you have
committed certain kinds of improper conduct
described in the Bankruptcy Code, the court
may deny your discharge.

You should know that even if you file

chapter 7 and you receive a discharge, some
debts are not discharged under the law.
Therefore, you may still be responsible to pay:

& most taxes;
@ most student loans;

@ domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. § 342(b} for Individuals Filing for Bankruptcy (Form 2010} page 1

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@ most fines, penalties, forfeitures, and
criminal restitution obligations; and

@ certain debts that are not listed in your
bankruptcy papers.

You may also be required to pay debts arising
from:

a fraud or theft;

a fraud or defalcation while acting in breach
of fiduciary capacity;

4 © intentional injuries that you inflicted; and

# death or personal injury caused by
operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or
drugs.

If your debts are primarily consumer debts, the
court can dismiss your chapter 7 case if it finds
that you have enough income to repay
creditors a certain amount. You must file
Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A—1) if you are an
individual filing for bankruptey under

chapter 7. This fotrn will determine your
current monthly income and compare whether
your income is more than the median income
that applies in your state.

If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means
Test Calculation (Official Form 122A—2).

If your income is above the median for your
state, you must file a second form —the
Chapter 7 Means Test Calculation (Official
Form 122A~2). The calculations on the form—
sometimes called the Means Test—deduct
from your income living expenses and
payments on certain debts to determine any
amount available to pay unsecured creditors. If

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your income is more than the median income
for your state of residence and family size,
depending on the results of the Means Test, the
U.S. trustee, bankruptcy administrator, or
creditors can file a motion to dismiss your case
under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal,
you may choose to proceed under another
chapter of the Bankruptcy Code.

If you are an individual filing for chapter 7
bankruptcy, the trustee may sell your property
to pay your debts, subject to your right to
exempt the property of a portion of the
proceeds from the sale of the property. The
property, and the proceeds from property that
your bankruptcy trustee sells or liquidates that
you are entitled to, is called exempt property.
Exemptions may enable you to keep your
home, a car, clothing, and household items or
to receive some of the proceeds if the property
is sold.

Exemptions are not automatic. To exempt
property, you must list it on Schedule C: The
Property You Claim as Exempt (Official Form
106C). Ff you do not list the property, the
trustee may sell it and pay all of the proceeds
to your creditors.

Chapter 11: Reorganization

$1,167 filing fee
+ $571 administrative fee
$1,738 total fee

Chapter [1 is often used for reorganizing a
business, but is also available to individuals.
The provisions of chapter I] are too
complicated to summarize briefly.

Notice Required by 17 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2019) page 2

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C, §§ 152, 1344, 1519, and 3571.

Under chapter 13, you must file with the court

a plan to repay your creditors all or part of the

money that you owe them, usually using your
$200 filing fee future earnings. If the court approves your

+ $78 administrative fee plan, the court will allow you to repay your
$278 total fee debts, as adjusted by the plan, within 3 years or

5 years, depending on your income and other

factors.

Chapter 12: Repayment plan for family
farmers or fishermen

Similar to chapter 13, chapter 12 permits
family farmers and fishermen to repay their
debts over a period of time using future
earnings and to discharge some debts that are
not paid.

After you make all the payments under your
plan, many of your debts are discharged. The
debts that are not discharged and that you may
still be responsible to pay include:

domestic support obligations,
Chapter 13: Repayment plan for

individuals with regular
income

most student loans,
certain taxes,
debts for fraud or theft,

$235 filing fee debts for fraud or defalcation while acting
+ $78___administrative fee in a fiduciary capacity,
$313 total fee

& most criminal fines and restitution

Chapter 13 is for individuals who have regular obligations,

income and would like to pay all or part of # certain debts that are not listed in your
their debts in installments over a period of time bankruptcy papers,

and to discharge some debts that are not paid. # certain debts for acts that caused death or
You are eligible for chapter 13 only if your personal injury, and

debts are not more than certain dollar amounts

® certain long-term secured debts.
set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010} page 3

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code
requires that you promptly file detailed information
about your creditors, assets, liabilities, income,
expenses and general financial condition. The
court may dismiss your bankruptcy case if you do
not file this information within the deadlines set by
the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

For more information about the documents and
their deadlines, go to:
http://www.uscourts.gov/forms/bankruptcy-forms

Bankruptcy crimes have serious
consequences

a Ifyou knowingly and fraudulently conceal
assets or make a false oath or statement
under penalty of perjury—either orally or
in writing—in connection with a
bankruptcy case, you may be fined,
imprisoned, or both.

= All information you supply in connection
with a bankruptcy case is subject to
examination by the Attorney General acting
through the Office of the U.S. Trustee, the
Office of the U.S. Attorney, and other
offices and employees of the U.S.
Department of Justice.

Make sure the court has your
mailing address

The bankruptcy court sends notices to the
mailing address you list on Voluntary Petition
for Individuals Filing for Bankruptcy (Official
Form 101). To ensure that you receive
information about your case, Bankruptcy

Rule 4002 requires that you notify the court of
any changes in your address.

A married couple may file a bankruptcy case
together—called a joint case. If you file a joint
case and each spouse lists the same mailing
address on the bankruptcy petition, the
bankruptcy court generally will mail you and
your spouse one copy of each notice, unless
you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you
could receive from credit
counseling agencies

The law generally requires that you receive a
credit counseling briefing from an approved
credit counseling agency. 11 U.S.C. § 109(h).
If you are filing a joint case, both spouses must
receive the briefing. With limited exceptions,
you must receive it within the 180 days before
you file your bankruptcy petition. This briefing
is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you
generally must complete a financial
management instructional course before you
can receive a discharge. If you are filing a joint
case, both spouses must complete the course.

You can obtain the list of agencies approved to
provide both the briefing and the instructional
course from: http://www.uscourts.gov/services-
forms/bankruptcy/credit-counseling-and-debtor-
education-courses.

In Alabama and North Carolina, go to:
http://www.uscourts.gov/services-
forms/bankruptcy/credit-counseling-and-
debtor-education-courses.

If you do not have access to a computer, the
clerk of the bankruptcy court may be able to
help you obtain the list.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 4

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